                                                                    SO ORDERED.


                                                                    Dated: June 17, 2019


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                                                                    Eddward P. Ballinger Jr., Bankruptcy Judge
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9                 IN THE UNITED STATES BANKRUPTCY COURT
10                         FOR THE DISTRICT OF ARIZONA
11    In Re:                                        )   Case No.: 2:19-bk-02179-EPB
                                                    )
12                                                  )   Chapter 7
      JOHNSON, ELGIE and
      JOHNSON, VICTORIA,                            )
13                                                  )   ORDER GRANTING TRUSTEE’S
                                                    )   APPLICATION TO RETAIN BK
14                            Debtors.              )   GLOBAL REAL ESTATE
                                                    )   SERVICES AND URBANCITI
15                                                  )   REALTY & PROPERTY
                                                    )   MANAGEMENT TO PROCURE
16                                                  )   CONSENTED PUBLIC SALE
                                                    )   PURSUANT TO 11 U.S.C. § 327, 328
17                                                  )   AND 330
                                                    )
18                                                  )
19         The Application to Retain BK Global Real Estate Services and Urbanciti Realty &
20   Property Management to Procure Consented Public Sale Pursuant to 11 U.S.C. §§ 327,
21   328, and 330 (the “Application”), BK Global Real Estate Services and Urbanciti Realty
22   & Property Management, having come before the Court seeking to be appointed and
23   authorized to act as brokers in the above-captioned case, and there being no objection
24   thereto, and good cause appearing,
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     Case 2:19-bk-02179-EPB      Doc 24 Filed 06/17/19 Entered 06/17/19 13:55:10               Desc
                                  Main Document    Page 1 of 2
1           IT IS ORDERED approving the application to employ BK Global Real Estate
2    Services and Urbanciti Realty & Property Management as brokers to the Trustee as of
3    June 10, 2019, provided that no compensation shall be paid to brokers except upon
4    appropriate application and after notice of hearing.
5                                       SIGNED AND DATED ABOVE BY THE
                                        HONORABLE EDDWARD P. BALLINGER, JR.
6                                       UNITED STATES BANKRUPTCY COURT JUDGE
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     Case 2:19-bk-02179-EPB       Doc 24 Filed 06/17/19 Entered 06/17/19 13:55:10        Desc
                                   Main Document    Page 2 of 2
